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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 20-cv-03348-KLM

STEPHEN BUSHANSKY,

       Plaintiff,

v.

LIBERTY OILFIELD SERVICES INC.,
CHRISTOPHER A. WRIGHT,
KEN BABCOCK,
PETER A. DEA,
WILLIAM F. KIMBLE,
N. JOHN LANCASTER, JR.,
JESAL SHAH,
BRETT STAFFIERI,
CARY D. STEINBECK, and
GALE A. NORTON,

       Defendants.

                           NOTICE OF VOLUNTARY DISMISSAL

      PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff Stephen Bushansky (“Plaintiff”) voluntarily dismisses the claims in the captioned action

(the “Action”) without prejudice. Because this notice of dismissal is being filed with the Court

before service by defendants of either an answer or a motion for summary judgment, Plaintiff’s

dismissal of the Action is effective upon the filing of this notice.


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Dated: March 25, 2021                   Respectfully submitted,

                                        /s/ Richard A. Acocelli
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